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                Exhibit A
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                                           EXHIBIT A – JOINT CLAIM CONSTRUCTION CHART


                       Claim Language                                    Claim Term(s)         Headwater’s        Samsung’s     Court’s
                                                                                                Proposal           Proposal   Construction
’918 Patent, Claim 1. A wireless end-user device, comprising:        “the calling device      Not indefinite;   Indefinite.
       a wireless modem configurable to connect to a wireless        application”             plain and
       network;                                                                               ordinary
       a network stack configurable to receive and transmit          ’918 patent, claim 1;    meaning.
       data via the wireless modem and the wireless network;         ’918 patent, claim 14.
       a first network stack Application Programming Interface
       (API), containing at least one first call accessible to
       each of a plurality of device applications, the first
       network stack API callable by each of the plurality of
       device applications to open and use data packet flows
       via the network stack, the wireless modem, and the at
       least one wireless network;
       a second API containing at least one second call
       accessible to each of the plurality of device applications,
       the second API callable by each of the plurality of
       device applications to make a data transfer request for a
       media object associated with a network resource
       identifier supplied by the calling device application;
       a media service manager prompted by the second call,
       to manage network data transfers for the media object
       by interfacing with the network stack to retrieve the
       media object associated with the network resource
       identifier via the wireless modem and the wireless
       network; and
       one or more service classification and measurement
       agents to associate wireless network data usage for the
       media object network data transfers with the device
       application that requests the data transfer for the media

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                       Claim Language                              Claim Term(s)        Headwater’s      Samsung’s     Court’s
                                                                                         Proposal         Proposal   Construction
       object, to associate wireless network data usage for
       respective data packet flows opened and used via the
       first network stack API with the device application
       opening such respective data packet flow, and to
       reconcile wireless network data usage for each of the
       plurality of device applications to track an aggregate
       wireless network data usage attributable to each of the
       plurality of device applications via both the first
       network stack API and the second API.

’918 Patent, Claim 14. A method of operating a wireless end-
user device when connected via a wireless modem to a wireless
network, the method comprising:
       operating a first network stack Application
       Programming Interface (API), containing at least one
       first call accessible to each of a plurality of device
       applications, the first network stack API callable by
       each of the plurality of device applications to open and
       use data flows via a network stack coupled to the
       wireless modem;
       operating a second API containing at least one second
       call accessible to each of the plurality of device
       applications, the second API callable by each of the
       plurality of device applications to make a data transfer
       request for a media object associated with a network
       resource identifier supplied by the calling device
       application;
       operating a media service manager prompted by the
       second call, the media service manager managing
       network data transfers for the media object by
       interfacing with the network stack to retrieve the media


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               Claim Language                               Claim Term(s)        Headwater’s      Samsung’s     Court’s
                                                                                  Proposal         Proposal   Construction
object associated with the network resource identifier
via the wireless modem and the wireless network; and
associating wireless network data usage for the media
object network data transfers with the device application
that requests the data transfer for the media object,
associating wireless network data usage for respective
data packet flows opened and used via the first network
stack API with the device application opening such
respective data packet flow, and reconciling wireless
network data usage for each of the plurality of device
applications to track an aggregate wireless network data
usage attributable to each of the plurality of device
applications via both the first network stack API and the
second API.




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